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                          IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

BRIAN PORTER                                                                         PLAINTIFF

vs.                                 Civil No. 2:19-cv-02123

COMMISSIONER, SOCIAL                                                               DEFENDANT
SECURITY ADMINISTRATON


                                          JUDGMENT
       Comes now the Court in accordance with the Memorandum Opinion entered in the above-

styled case on today’s date, and hereby considers, orders, and adjudicates that the decision of the

Commissioner of the Social Security Administration is AFFIRMED, and Plaintiff’s Complaint is

hereby dismissed with prejudice.

       ENTERED this 6th day of November 2020.

                                                     /s/Barry A. Bryant
                                                     HON. BARRY A. BRYANT
                                                     UNITED STATES MAGISTRATE JUDGE
